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   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:18-CR-00002-JLT
12                                 Plaintiff,             STIPULATION TO CONTINUE SENTENCING;
                                                          ORDER
13                           v.
                                                          DATE: January 27, 2025
14   MARCOS CASTRO,                                       TIME: 10:00 a.m.
                                                          COURT: Hon. Jennifer L. Thurston
15                                Defendant.
16

17                                                STIPULATION

18          IT IS HEREBY STIPULATED by and between Michele Beckwith, Acting United States

19 Attorney, and Ross Pearson, Assistant U.S. Attorney, and the undersigned attorney for defendant

20 Marcos Castro that the sentencing hearing set for January 27, 2025, at 10:00 a.m. before the Honorable
21 Jennifer L. Thurston, U.S. District Court Judge, be vacated and a status conference regarding sentencing

22 be set for to March 17, 2025, at 10:00 a.m.

23          The parties acknowledge that this Court previously indicated that no further continuances would

24 be granted. However, for the reasons stated in the sealed supplement to this stipulation, the parties

25 believe that this case is not yet ripe for sentencing, and that proceeding with sentencing would be

26 detrimental to the interests of both parties. In addition, defense counsel also has trial conflicts that
27 impact the current presentence filing deadlines and sentencing date, and, given the passage of time

28 between now and the issuance date of the draft Presentence Investigation Report, the United States

       STIPULATION TO CONTINUE SENTENCING; [PROPOSED]     1
30     ORDER
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 1 Probation Office might also prefer to amend/update it prior to sentencing.

 2          As such, the parties believe that setting a status conference on March 17, 2025 would be

 3 appropriate, and that by that date the parties will be prepared to set a firm sentencing date.

 4          IT IS SO STIPULATED.

 5

 6
     Dated: January 15, 2025                                 MICHELE BECKWITH
 7                                                           Acting United States Attorney
 8
                                                             /s/ ROSS PEARSON
 9                                                           ROSS PEARSON
                                                             Assistant United States Attorney
10

11
     Dated: January 15, 2025                                 /s/ KEVIN LITTLE
12                                                           KEVIN LITTLE
13                                                           Counsel for Defendant
                                                             MARCOS CASTRO
14                                                           (Authorized by email on January
                                                             15, 2025)
15

16

17
                                                       ORDER
18
            IT IS SO FOUND.
19

20 IT IS SO ORDERED.
21
        Dated:     January 16, 2025
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      STIPULATION TO CONTINUE SENTENCING; [PROPOSED]     2
30    ORDER
